                                                                                FILED
                                                                           . MAR 2 4 2017
                       UNITED STATES DISTRICT COURT                        PfkrA    ·
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA                ·"1 Otl_J~
                                                                      IY~SDfS
                             WESTERN DIVISION
                                                                               r. E!bici.ERI(
                                                                                         . DE!PcLJ(
                            No. 5:    rl-
                                       CJ2-0\ l- \ lb\2-
                            No. 5: rl-C(Z.--g I- d~

UNITED STATE OF AMERICA

        v.                                    CRIMINAL INFORMATION
                                              Fed. R. Crim. P. 7
KENNETH PRESTON BLEVINS
MICHAEL BANKS


      THE UNITED STATES ATTORNEY CHARGES THAT:

                                COUNT ONE
               (Theft and conversion of government property
                      and aiding and abetting others
                 in violation of 18 U.S.C. §§ 641 and 2)

                                     BACKGROUND

      1.      Defendant KENNETH PRESTON BLEVINS (hereinafter referred

to as      "BLEVINS")    was   a   Specialist   (E-4)     in the   United States

Department of the Army assigned to the Forward Support Company of

the 1st Battalion, 3rd Special Forces Group.                BLEVINS was a. cook

with a military occupational specialty of "92G," that is, a food

service specialist responsible for the preparation and service of

food in field or garrison food service operations.

      2.      Defendant    MICHAEL    BANKS     (hereinafter   ref erred     to     as

"BANKS") was a Specialist (E-4) in the United States Department of

the   Army    assigned    to   the   Forward    Support    Company   of   the      1st

Battalion, 3rd Special Forces Group.              BLEVINS was a cook with a




           Case 5:17-cr-00091-BR Document 8 Filed 03/24/17 Page 1 of 5
military occupational specialty of "_92G," that is, a food service

specialist responsible for the preparation and service of food in

field or garrison food service operations.

        3.      From on or about September 1,          2012 through April 30,

2013, BLEVINS was deployed with his unit to Afghanistan.                   BLEVINS

was assigned to the dining facility at Camp Dyer,                    the Special

Forces camp at Jalalabad Air Base.

        4.      From on or about September 2,          2012 through ):V.larch 30,

2013,    BANKS was deployed with his unit to Bagiam Air Field in

Afghanistan.         Within a few months, BANKS was re-assigned to the

dining facility at Camp Dyer, the Special Forces camp at Jalal~bad

Air Base.

        5.      Jalalabad Air Base      is    a   United States military base

located approximately 80 miles east of Kabul, Afghanistan.

        6.      The United States Department of Defense is a department

of the United States that provides military forces needed to deter

war     and    to   protect   the   security of     our   country,   and manages

military installations           and facilities      on behalf of     the United

States, including Jalalabad Air Base.

        7.      During his deployment, BLEVINS stole food and beverages

belonging to the United States Department of Defense, and gave the

stolen items to local national workers to take off base and sell

                                          2




             Case 5:17-cr-00091-BR Document 8 Filed 03/24/17 Page 2 of 5
at a local bazaar.

     8.      BANKS,    who ordered food for the Dining Facility,               was

aware and facilitated the theft scheme by managing food and supply

orders and concealing the thefts through replacement of the stolen

goods.

     9.      BLEVINS    split   the   proceeds    of    theft   with    the   local

national workers, BANKS, and others.

     10.     BLEVINS    and   BANKS   sent   a   portion   of   their    criminal

proceeds back to the United States via Western Union.

                                 THE OFFENSE

     11.     Beginning in or about September 1, 2012, through April

30, 2013, the exact dates being unknown,               in the Eastern District

of North Carolina, in Afghanistan, and elsewhere, KENNETH PRESTON

BLEVINS and MICHAEL BANKS,        defendants herein,        did knowingly and

unlawfully embe'zzle, steal, purloin, and convert to their use, and

the use of another,       things of value of the United States and a

department and agency thereof, the value of which in the aggregate

did exceed the sum of $1000, and did aid and abet each other and

others in so doing,       all in violation of Title 18, United States

Code, Sections 641 and.2, and pursuant to Title 18, United States

code, 3238.




                                        3




          Case 5:17-cr-00091-BR Document 8 Filed 03/24/17 Page 3 of 5
                                FORFEITURE NOTICE

     As a result of the offense set forth in Count One of this

criminal information, the defendants shall forfeit to the United

States,     pursuant    to    Title   18,   United     States     Code,     Section

981(a) (1) (C), as made applicable by Title 28, United States Code,

Section 2461(c), any property, real or personal, which constitutes

or is derived from proceeds traceable to the said offense.

     The forfeitable property includes, but is not limited to:

     (1)      U.S.   currency in the        amount    of   $34,500. for     KENNETH

PRESTON BLEVINS and U.S.          currency in the amount of             $5,000    for

MICHAEL BANKS;

     If    any of    the     above-described forf ei table property,             as   a

result of any act or omission of the defendants,

     (1) cannot be located upon the exercise of due diligence;

     (2) has been transferred or sold to, or deposited with, a

            third person;

     (3) has been placed beyond the jurisdiction of the court;

     (4) has been substantially diminished in value; or

     (5) has been commingled with other property which cannot be

     subdivided without difficulty,

it is the intent of the United States, pursuant to Title 21, United

States     Code,   Section 853 (p),    to   seek     forfeiture    of     any other


                                        4




          Case 5:17-cr-00091-BR Document 8 Filed 03/24/17 Page 4 of 5
property of said defendant up to the value of the above forfeitable

property.

                            JOHN STUART BRUCE




                            Criminal Division




                                    5




       Case 5:17-cr-00091-BR Document 8 Filed 03/24/17 Page 5 of 5
